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EXHIBIT 6

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

_ — _ — - _ — — -~ -_ — - - —_ _ - — - _- — x
VIRGINIA L. GIUFFRE,

Plaintiff,

Case No.:
-against- 15-cv-07433-RWS

GHISLAINE MAXWELL,

Defendants.
—_ _— — — _ _ -_ —_ —_ - — - —_ - - -= _- - - = x

** CONFIDENTIAL* *

Videotaped deposition of GHISLAINE
MAXWELL, taken pursuant to subpoena, was
held at the law offices of BOIES
SCHILLER & FLEXNER, 575 Lexington
Avenue, New York, New York, commencing
April 22, 2016, 9:04 a.m., on the above
date, before Leslie Fagin, a Court
Reporter and Notary Public in the State
of New York.

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2 APPEARANCES :

BOIES SCHILLER & FLEXNER, LLP
4 Attorneys for Plaintiff
401 East Las Olas Boulevard

5 Fort Lauderdatle, Florida, 33301
BY: SIGRID McCAWLEY, ESQUIRE
6 MEREDITH SCHULTZ, ESQUIRE
EMMA ROSEN, PARALEGAL
7
8

FARMER JAFFE WEISSING EDWARDS FISTOS &

9 LEHRMAN, P.l.
Attorneys for Plaintiff

10 425 N. Andrews Avenue

Fort Lauderdale, Florida 33301
11 BY: BRAD EDWARDS, ESQUIRE
12

13 PAUL G. CASSELL, ESQUIRE
Attorneys for Plaintifft
14 383 South University Street
Salt Lake City, Utah 84112
15
16
HADDON MORGAN FOREMAN
17 Attorneys for Defendant
150 Bast 10th Avenu

18 Denver, Colorado 80203
BY: JEFFREY S. PAGLIUCA, ESQUIRE
19 LAURA A. MENNINGER, ESQUIRE
20
21 Also Present:
22 James Christe, videographer
23
24
25

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1 G Maxwell - Confidential

2 for sexual acts.

3 Q. I'm asking if they performed sexual
4 acts?

5 MR. PAGLIUCA: Object to the form

6 and foundation.

7 Q. Did any of the massage therapists

8 who were at the home perform sexual acts for

9 Jeffrey Epstein?

10 A. I don't know what you mean by

11 sexual acts.

12 Q. Did any of the massage therapists
13 who were working at the home perform sexual

14 acts, including touching the breasts,
15 touching the vaginal area, being touched

16 while Jeffrey is masturbating, having

17 intercourse, any of those things?

18 MR. PAGLIUCA: Objection. Form and
19 foundation.

20 To the extent any of this is asking
21 for to your knowledge any consensual sex
22 act that may or may not have involved

23 you, I'm instructing you not to answer
24 the question.

25 Q. I'm not asking about consensual sex

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1 G Maxwell - Confidential
2 acts. I'm asking whether any of the massage
3 therapists performed sexual acts for Mr.

4 Epstein, as I have just described?

5 A. I have never seen anybody have

6 sexual intercourse with with Jeffrey, ever.
7 Q. I'm not asking about sexual

8 intercourse. I'm asking about any sexual

9 act, touching of the breast -- did you ever
10 see -- can you read back the question?

11 (Record read.)

12 A. I'm not addressing any questions

13 about consensual adult sex. If you want to

14 talk about what the subject matter, which is
15 defamation and lying, Virginia Roberts, that
16 you and Virginia Roberts are participating in

17 perpetrating her lies, I'm happy to address

18 those. I never saw any inappropriate
19 underage activities with Jeffrey ever.
20 Q. I'm not asking about underage. I'm

21 asking about whether any of the masseuses

22 that were at the home perform sexual acts for
23 Jeffrey Epstein?

24 A. I have just answered the question.

25 Q. No, you haven't.

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1 G Maxwell - Confidential

2 A. I have.

3 Q. No, you haven't.

4 A. Yes, I have.

5 Q. You are refusing to answer the

6 question.

7 A. Let's move on.

8 Q. I'm in charge of the deposition. I
9 Say when we move on and when we don't.

10 You are here to respond to my

11 questions. If you are refusing to answer the
12 court will bring you back for another

13 deposition to answer these questions.

14 Do you understand that?

15 MR. PAGLIUCA: You don't need to
16 threaten the witness.
17 MS. McCAWLEY: I'm not threatening
18 her. I'm making sure the record is

19 clear.
20 MR. PAGLIUCA: Certainly can you
21 apply to have someone come back and the
22 court may or may not have her come back
23 again.
24 Again, she is not answering
25 questions that relate to adult consent

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1 G Maxwell - Confidential

2 sex acts. Period. And that's the

3 instruction and we can take it up with
4 the court.

5 Q. Ms. Maxwell, are you aware of any
6 sexual acts with masseuses and Jeffrey

7 Epstein that were nonconsensual?

8 A. No.

9 Q. How do you know that?

10 A. All the time that I have been in

11 the house I have never seen, heard, nor

12 witnessed, nor have reported to me that any
13 activities took place, that people were in

14 distress, either reported to me by the staff

15 or anyone else. I base my answer based on

16 that.

17 Q. Are you familiar with a person by
18 the name of a

19 A. I am.

20 Q. Has ae given a statement
21 to police about you performing sexual acts on
22 her?

23 A. I have not heard that.

24 Q. Has cies a statement

25 to police about Jeffrey Epstein performing

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id G Maxwell - Confidential

2 Q. Did you have sex with her?

3 MR. PAGLIUCA: This is the same

4 instruction about consensual or

5 nonconsensual.

6 Q. Was Emmy under the age of 18 when

7 you hired her?

8 A. No. I didn't hire her, as I said,
9 Jeffrey did.

10 Q. Did Emmy ever have sex with

11 Jeffrey?

12 MR. PAGLIUCA: Objection to the

13 form and foundation.

14 A. How would I know what somebody else
15 did.

16 Q. You weren't involved in the sex

17 between Jeffrey, Emmy and yourself?
18 A. We already --

19 Q. Were you involved with sex between

20 Jeffrey, Emmy and yourself?

21 MR. PAGLIUCA: Everyone is talking
22 over each other. You heard the

23 question.

24 Again, you you know what the

25 instruction is. If there is any

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1 G Maxwell - Confidential

2 consensual issue involved, I instruct

3 you not to answer.

4 A. Moving on.

5 Q. So you are refusing to answer that

6 question?

7 A. I've been instructed by my lawyer.
8 Q. Did you ever have sex with Jeffrey,
9 Emmy, Virginia and yourself when Virginia was
10 underage?
11 A. Absolutely not.
12 MR. PAGLIUCA: We've been going for
13 about an hour. I would like to take a
14 five-minute break, please.
15 MS. McCAWLEY: I'm almost done.
16 MR. PAGLIUCA: You are not going to
17 allow a break.
18 MS. McCAWLEY: As soon as I get
19 through my line of questioning, which is
20 perfectly appropriate.
21 Q. Did Emmy Taylor travel with you and

22 Jeffrey to Europe?

23 A. I'm sure she did.
24 Q. What is she doing today?
25 A. I have no idea.

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1 G Maxwell - Confidential

2 Q. Did you train Virginia on how to

3 recruit other girls to perform sexual

4 massages?

5 MR. PAGLIUCA: Objection to the

6 form and foundation.

7 A. No. And it's absurd and her entire
8 story is one giant tissue of lies and

9 furthermore, she herself hag -- if she says

10 that, you have to ask her about what she did.

11 Q. Does Jeffrey like to have his

12 nipples pinched during sexual encounters?

13 MR. PAGLIUCA: Objection to form
14 and foundation.

15 A. I'm not referring to any advice on

16 my counsel. I'm not talking about any adult
17 sexual things when I was with him.
18 Q. When Jeffrey would have a massage,

19 would he request that the masseuse pinch his

20 nipples while he was having a massage?

21 A. I'm not talking about anything with
22 consensual adult situation.

23 Q. What about with underage --

24 A. I am not aware of anything.

25 Q. You are not aware of Jeffrey

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1 G Maxwell - Confidential
2 Q. In your responsibilities in working
3 for Jeffrey, would you book massages for him

4 on any given day so that he would have a
5 massage scheduled? Would you take a call for

6 example and book a massage for him?

7 MR. PAGLIUCA: Objection to the
8 form and foundation.

9 Q. You can answer.

10 A. Typically, that was not my

11 responsibility. He would either book the
12 massage himself or one of his other

13 assistants would do that.

14 Q. From time to time you had to do

15 that?

16 MR. PAGLIUCA: Objection to the

17 form and foundation.

18 A. Like I said, typically it was

19 somebody else's responsibility.

20 Q. If you were unable to book a girl
21 for a massage on a given day, would that mean
22 that you were responsible for giving him a

23 sexual massage?

24 MR. PAGLIUCA: Objection to the

25 form and foundation and I instruct you

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G Maxwell - Confidential
not to answer any questions about any of

your consensual adult sexual activity.

Q. SO you are not going to answer that
question?

A. You just heard my counsel.

Q. Have you ever said to anybody that

recruiting other girls to perform sexual
massages for Jeffrey Epstein takes the
pressure off you?
MR. PAGLIUCA: Object to the form
and foundation.

A. Repeat the question and break it
out.

Q. Have you ever said to anybody that
you recruit girls --

A. Stop right there. I never
recruited girls, let's stop there. Now
breakdown the question.

Q. Have you ever said to anybody --

A. By girls, we are talking about
underage people -- you said girls, are you
talking about underage -- we are not talking
about consensual acts -- this is a defamation

suit.

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1 G Maxwell - Confidential
2 the flights?
3 A, I can't recollect having a meal
4 with them, but just so we are clear, the
5 allegations that ae =: a meal on
6 Jeffrey's island is 100 percent false.
7 Q. But he may have had a meal on
8 Jeffrey's plane?
9 A. I'm sure he had a meal on Jeffrey's
10 plane.
11 Q. You do know how many times he flew

12 on Jeffrey's plane?

13 A. I don't.

14 Q. Do you know who ae

15 A. I do.

16 Q. How do you know him?

17 A. He used to work or still works for

ia

19 Q. Did you ever have a relationship

20 with him?

21 A. We are talking about adult

22 consensual relationships, it's off the

23 record.

24 Q. I'm not asking what you did with
25 him, I'm asking if you ever had a

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1 G Maxwell ~ Confidential

2 relationship with him?

3 MR. PAGLIUCA: If you understand

4 the term relationship, certainly you can
5 answer that.

6 A. Define relationship.

7 Q. Somebody that you would have spent
8 time together, either seeing them ina

9 romantic relationship or --

10 A. You need to be, what do you mean by

11 romantic. I was friends with Pou: you

12 are suggesting something more so I want to be
13 clear what you are actually asking me.
14 Q. You defined it. You said you were

15 friends with him. If that's what you were

16 that's all I need to know.

17 While you were on the trip with
10 eu xecair snere you
19 stayed at these locations, in other words,

20 would you leave the jet and stay overnight at
21 a hotel, do you have a recollection of this
22 trip?

23 A. I recollect the trip but if you're
24 asking me where we stayed, you can see it's a

25 very fast paced trip. It was very tiring and

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1 G Maxwell - Confidential
2 form and foundation.
3 A. I don't know why the name is -- I'm
4 sorry -- I can't -- I have no idea. TI
5 recognize the name but that's it.
6 Q. Was ee - masseuse?
7 MR. PAGLIUCA: Objection to the
8 form and foundation.
9 A. What are you asking me, I'm sorry?

re ° When ID o2kca tor

11 Jeffrey Epstein, did she perform massages?

12 A. I've testified that when a

13 came originally, she came to answer
14 telephones. I believe at some point she
15 became a masseuse. I don't recollect when

16 and I personally had massages from a
17 Q. What aid i. for Jeffrey

18 Epstein, did she perform massages, anything

19 else?

20 MR. PAGLIUCA: Objection to the

21 form and foundation.

22 A. When she came she answered phones
23 and at some point, I believe, I don't have

24 any firm recollection, but I believe she went
25 to school and became a masseuse and I had

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1 G Maxwell - Confidential

2 massages from her,

3 Q. Did you ever have any sexual

4 interaction with her?

5 MR. PAGLIUCA: Object to the form

6 and foundation and I'm going to instruct
7 you if we're talking about any

8 consensual adult contact, you are not

9 allowed to answer the question.

10 Q. Did you have any sexual contact

11 with her in the presence of Jeffrey Epstein?
12 MR. PAGLIUCA: Same instruction.
13 Q. Did you have any sexual contact
14 with her in the presence of anybody other

15 than Jeffrey Epstein?

16 MR. PAGLIUCA: Same instruction.

17 Q. How many massages did you receive
18 fron

19 A. I really don't recall but a fair

20 amount.

21 Q. Did the massages involve sex?

22 MR. PAGLIUCA: I'm going to

23 instruct you not to answer.

24 Q. Have you ever engaged in sex with

25 any female?

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1 G Maxwell - Confidential

2 MR. PAGLIUCA: I'm going to

3 instruct you not to answer.

4 MS. McCAWLEY: I want the record to
5 reflect that Ms. Maxwell's attorney is

6 directing her not to answer this series
7 of questions.

8 MR. PAGLIUCA: It definitely does.
9 Q. Were you responsible for

10 introducing ae -- Jeffrey Epstein?

di dl MR. PAGLIUCA: Objection to the

12 form and foundation.

13 A. I already testified that I don't

14 really recall a

15 Q. Were you responsible for

16 introducing ae Jeffrey Epstein?

17 MR. PAGLIUCA: Objection to the

18 form and foundation.

19 A. Again, I don't like the

20 characterization of introduction. a
21 came to answer telephones.

22 Q. When did you -- were you the person
23 who brought or introduced or met a.
24 purposes of bringing her to Jeffrey Epstein's
25 home?

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